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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

HOLT HEALTHCARE MANAGEMENT                           )
SERVICES, INC.,                                      )
on behalf of plaintiff and                           )
the class members defined herein,                    )
                                                     )
               Plaintiff,                            )       16 C 7281
                                                     )       Hon. Thomas M. Durkin
               v.                                    )
                                                     )
INTELLICURE, INC., d/b/a US WOUND                    )
REGISTRY and US PODIATRY REGISTRY;                   )
CHRONIC DISEASE REGISTRY, INC.;                      )
and JOHN DOES 1-10,                                  )
                                                     )
               Defendants.                           )

                                 NOTICE OF SETTLEMENT

       Plaintiff Holt Healthcare Management Services, Inc., and Defendants Intellicure Inc.

d/b/a US Wound Registry US Podiatry Registry (“Defendant”) and Chronic Disease Registry,

Inc. have resolved this matter on an individual basis. The parties are completing settlement

documents and anticipate filing a stipulation of dismissal within the next 45 days.



                                             Respectfully submitted,

                                             s/ Dulijaza Clark
                                             Dulijaza (Julie) Clark



Daniel A. Edelman
Dulijaza (Julie) Clark
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                                     CERTIFICATE OF SERVICE

       The undersigned certifies that on January 13, 2017, she caused the foregoing document to

be electronically filed with the Clerk of the United States District for the Northern District of

Illinois by filing through the CM/ECF system, which shall cause service via electronic mail upon

all counsel of record.




                                                      s/ Dulijaza Clark
                                                      Dulijaza (Julie) Clark



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